Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 1 of 9



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        Case No: 19-cv-21931

  VASILA QUEEN,
           Petitioner,
  v.
  STATE FARM MUTUAL AUTOMOBILE
  INSURANCE COMPANY,
        Respondent.
  ____________________________________
       Underlying Case:
        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        Underlying Case No: 1:18-cv-00289-ILG-ST
           STATE FARM MUTUAL
           AUTOMOBILE INS. CO. et al.,
                Plaintiffs,
           v.
        JULES PARISIEN, M.D., et al.,
              Defendants.
  ____________________________________/

    PETITIONER VASILA QUEEN’S MOTION TO QUASH NON-PARTY SUBPOENAS
   ISSUED BY RESPONDENT STATE FARM AUTOMOBILE INSURANCE COMPANY

           COMES NOW, Petitioner VASILA QUEEN (“Queen”), through counsel, and hereby

  moves this court, pursuant to Rule 45(d)(3)(A)(iv), Fed. R. Civ. P., for an order quashing non-

  party subpoenas issued by Respondent STATE FARM MUTUAL AUTOMOBILE

  INSURANCE COMPANY (“State Farm”) and served on Petitioner Queen.

                                    FACTUAL BACKGROUND

           1.     This is a petition to quash non-party subpoenas that were issued in State Farm

  Mutual Automobile Ins. Co., et al. v. Parisien et al., No. 1:18-cv-00289-ILG-ST (“Underlying
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 2 of 9



  Case”), a civil RICO action which is currently pending in the United Stated District Court for the

  Eastern District of New York.

         2.      Petitioner Queen is a sui juris individual who currently resides and regularly does

  business in Miami-Dade County, Florida and who has not been named as a party or trial-witness

  in the Underlying Case.

         3.      In the Underlying Case, State Farm alleges a fraud-derived racketeering

  enterprise, composed of physicians, chiropractors, medical service providers, acupuncture

  therapists and other therapists – who allegedly submitted bills to State Farm for treatments to

  automobile accident claimants that, as State Farm alleges, were medically unnecessary, ineligible

  for reimbursement and/or never occurred. See Underlying Case, Docket No. 5 (State Farm’s

  Amended Complaint).

         4.      State Farm alleges that this racketeering enterprise involved a number of health

  care professionals operating out of offices located at 1786 Flatbush Avenue in Brooklyn, New

  York (“Flatbush Offices”). See id.

         5.      Whether through discovery or through its own private investigation (which on

  information and belief has involved the examination of the bank records of one or more of the

  defendants in the Underlying Case (“Flatbush Defendants”)), State Farm has learned that, during

  the alleged racketeering conspiracy period, Petitioner Queen happened to operate a beauty salon

  – and, further, that Ms. Queen, during the same period, had apparently been involved in

  transactions with one or more of the Flatbush Defendants. What is not clear is whether State

  Farm has any objective basis for the idea that any of Ms. Queen’s apparent transactions with any

  of the Flatbush Defendants had anything to do with State Farm’s medical billing claims. This is

  important here, since Ms. Queen has never provided health care services in the medical industry




                                                 -2-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 3 of 9



  and therefore cannot have had any obvious involvement in an insurance scam that was based on

  billing auto insurance companies for medical treatments.

         6.     On May 7, 2019, State Farm served two non-party subpoenas on Ms. Queen. The

  first subpoena commands that Ms. Queen testify at a deposition to be conducted in Miami-Dade

  County on May 30, 2019. A copy of this deposition subpoena is attached as Exhibit 1. The

  second subpoena commands that Ms. Queen produce – within fourteen (14) days after the

  service date – the following materials from a period beginning January 1, 2012 and ending at the

  present:

                1.      All Documents reflecting or relating to the transactions identified
                        on the chart attached hereto as Exhibit 1, including but not limited
                        to any contracts, communications, documents reflecting services
                        performed, checks, wires, electronic funds transfers, receipts,
                        deposit slips, bank statements, or Form 1099s.
                2.      All documents reflecting or relating to payments made to or
                        received from Tatiana Rybak or any person or entity acting on her
                        behalf.
                3.      All Communications with Tatiana Rybak or any person or entity
                        acting on her behalf.
                4.      All Documents reflecting or relating contractual relationships,
                        financial arrangements, and/or business relationships with Tatiana
                        Rybak or any person or entity acting on her behalf.
                5.      All Documents reflecting or relating to payments made to or
                        received from any of the Defendants.
                6.      All Communications involving any of the Defendants.
                7.      All Documents reflecting contractual relationships, financial
                        arrangements, and/or other business relationships with any of the
                        Defendants.
                8.      All Documents reflecting or relating to any services You provided
                        for any of the Defendants.
                9.      All Documents reflecting or relating to payments made to or
                        received from any person or entity concerning activity at 1786
                        Flatbush Avenue, Brooklyn, New York.



                                                -3-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 4 of 9



                 10.     All Communications concerning activity at 1786 Flatbush Avenue,
                         Brooklyn, New York.
                 11.     All Documents reflecting contractual relationships, financial
                         arrangements, and/or other business relationships concerning
                         activity at 1786 Flatbush Avenue, Brooklyn, New York.
  A copy of this subpoena duces tecum (which includes an internal exhibit listing several

  transactions apparently involving one or more of the Flatbush Defendants) is attached hereto as

  Exhibit 2.

         7.      Petitioner Queen is filing this motion because she believes that the bare fact that

  Ms. Queen may have had some kind of transactional relationship with one or more of the

  Flatbush Defendants – is simply not enough, standing alone, to justify an involuntary

  investigation of Ms. Queen in connection with State Farm’s RICO case.

         8.      Prior to filing this motion, the undersigned conferred with counsel for State Farm

  in an effort to determine the basis for State Farm’s belief or understanding that Ms. Queen’s

  apparent transactions with one or more Flatbush Defendants were related to any kind of medical

  billing conspiracy. Instead of providing the undersigned with an objective basis for the idea that

  Ms. Queen was connected to the alleged Flatbush medical billing scam, counsel for State Farm

  simply responded that the mere accident that Ms. Queen had transactions with one or more of the

  Flatbush Defendants is enough to satisfy the applicable relevancy standards.

         9.      Ms. Queen is filing this motion because she disagrees. Nothing in Ms. Queen’s

  professional or business background suggests a connection to any kind of medical services

  business. And if Ms. Queen has had transactional relationships with people who happen to be

  involved in the medical services industry (and even if they appear to State Farm to be suspicious

  transactions), this does not and cannot constitute an objective basis for believing that these

  relationships are related to State Farm’s medical billing claims.



                                                  -4-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 5 of 9



         10.     In other words, what State Farm has is a hunch. State Farm notices that one or

  more of the Flatbush Defendants has had transactional dealings with the operator of a beauty

  salon, and – without knowing the nature of these transactions – State Farm wants a “free peek” at

  Ms. Queen’s personal information and a “free interrogation” of Ms. Queen to see if these

  transaction have anything to do with the medical billing scheme at issue. This is not because

  State Farm has any objective basis for believing that Ms. Queen was actually involved in any

  medical billing conspiracy, but rather “just in case” State Farm might get lucky and find

  something that helps them with their civil RICO case.

         11.     Under these circumstances, forcing Ms. Queen to submit to a deposition and

  forcing her to provide extensive documents, records and correspondence are inappropriate and

  fall short of the relevancy standards that guide civil discovery – which are incorporated into Rule

  45, Fed. R. Civ. P. Accordingly, Ms. Queen now moves this Court to issue an order quashing

  the two subpoenas State Farm served on Ms. Queen on May 7, 2019.

         12.     In compliance with local rules, the undersigned has communicated with counsel

  for State Farm, in an effort to resolve the subject matter of this motion without the need for

  litigation, and determined that this motion is opposed.

                                            ARGUMENT

  A.     Jurisdiction and Standard of Review

         13.     This Court’s jurisdiction derives from the federal question and diversity

  jurisdiction that the United Stated District Court for the Eastern District of New York has over

  the underlying case – which not only involves RICO claims, but state law claims as well. This is

  because: (a) the subpoenas at issue command compliance in Miami-Dade and Boca Raton

  Counties, which are both located in the Southern District of Florida; and (b) the applicable




                                                  -5-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 6 of 9



  federal rule specifically provides that, when a subpoena subjects a person to undue burden (as

  Ms. Queen argues here), “the court for the district where compliance is required must quash or

  modify [the] subpoena.” Rule 45(d)(3)(A), Fed. R. Civ. P.

         14.     The determination of issues of burden and reasonableness under Rule 45 are

  committed to the sound discretion of the district court. See Naartex Consulting Corp. v. Watt,

  722 F.2d 779, 788 (D.C. Cir. 1983), cert. denied, 467 U.S. 1210 (1984); Kaufman v. Edelstein,

  539 F.2d 811, 822 (2d Cir. 1976).

  B.     Both of the subpoenas that State Farm served on Petitioner Queen on May 7, 2019
         subject Ms. Queen to undue burden.

         15.     A subpoena that seeks “irrelevant information” is considered to be an “undue

  burden” under Rule 45(d)(3)(A). See, e.g., American Federation of State, County and Mun.

  Employees (AFSCME) Council 79 v. Scott, 277 F.R.D. 474, 476 (S.D. Fla. 2011). Here, it may

  be noted that Rule 45 adopts the standard codified in Rule 26, which allows for the discovery of

  any matter “not privileged, that is relevant to the claim or defense of any party.” Schaaf v. Smith-

  Kline Beecham Corp., 233 F.R.D. 451, 453 (E.D. N.C. 2005) (quoting Rule 26(b)(1)) (emphasis

  supplied).

         16.      The Eleventh Circuit has noted that “relevant” in Rule 26(b)(1) means

  information that “appears reasonably calculated to lead to the discovery of admissible evidence.”

  Exist, Inc. v. E.S.Y., Inc., 2015 WL 926003, at *1 (S.D. Fla. 2015) (quoting Farnsworth v.

  Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985)); see also Mount Hope Church v.

  Bash Back!, 705 F.3d 418, 425 (9th Cir. 2012) (noting that Rule 45 incorporates the discovery

  guidelines set forth in Rule 26); Rule 26 Advisory Committee Notes (“Rule 26(b) … permits

  discovery only of matters which will be admissible in evidence or appear reasonably calculated

  to lead to such evidence.”).



                                                  -6-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 7 of 9



          17.    While the federal rules “strongly favor full discovery whenever possible,”

  Farnsworth, 758 F.2d at 1547, “a district court is not, however, ‘required to permit [a party] to

  engage in a “fishing expedition” in the hope of supporting his claim.’” United States v. 2121

  Celeste Road SW, Albuquerque, N.M., 307 F.R.D. 572, 582-583 (D. N.M. 2015) (quoting McGee

  v. Hayes, 43 Fed.Appx. 214, 217 (10th Cir. 2002)).

          18.    This is because “‘[d]iscovery ... is not intended to be a fishing expedition, but

  rather is meant to allow the parties to flesh out allegations for which they initially have at least a

  modicum of objective support.’” Rivera v. DJO, LLC, 2012 WL 3860744, at *1 (D. N.M., Aug.

  27, 2012) (quoting Tottenham v. Trans World Gaming Corp., 2002 WL 1967023, at *2 (S.D.

  N.Y., June 21, 2002)) (emphasis supplied).

          19.    In other words, and importantly, “courts should not grant discovery requests

  based on pure speculation … into actions or past wrongdoing not related to the alleged claims or

  defenses.” Collens v. City of New York, 222 F.R.D. 249, 253 (S.D. N.Y. 2004) (emphasis

  supplied).

          20.    But this is exactly what State Farm appears to be attempting with Ms. Queen here.

  While State Farm may find certain apparent transactions involving Ms. Queen to be suspicious

  (and possibly indicative of some kind of wrongdoing, or possibly not), State Farm has not

  articulated to Ms. Queen – even when invited to do so – any “modicum of objective support” for

  the idea that these transactions are actually related to a medical billing conspiracy involving State

  Farm.

          21.     So, what State Farm is left with is pure suspicion, pure speculation that the

  transactions apparently involving Ms. Queen are related to its medical billing claims.




                                                   -7-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 8 of 9



         22.     As the federal rules and case law make clear, such pure suspicion does not meet

  the standards of “objective support” that safeguard the meaning of “relevance” under Rule 26.

  See Shinedling v. Sunbeam Products Inc., 2014 WL 12600964, at *2 (C.D. Cal., March 4, 2014)

  (citing Micro Motion, Inc. v. Kane Steel Co., Inc., 894 F.2d 1318, 1324 (Fed. Cir. 1990))

  (“Requested discovery is not relevant to the subject matter involved in a pending action if the

  inquiry is only based on the requesting party’s mere suspicion or speculation.”).

         23.     Both of State Farm’s subpoenas on Ms. Queen therefore subject her to “undue

  burden” under Rule 45(d)(3)(A)(iv), Fed. R. Civ. P., which requires that this Court either quash

  or modify the subpoenas.

         24.     Because there is no way to modify the subpoenas to cure State Farm’s lack of

  “objective support” as to how any of Ms. Queen’s apparent transactions with one or more of the

  Flatbush Defendants are related to State Farm’s medical billing claims, this Court has no option

  other than to quash the two subpoenas.

                                           CONCLUSION

         Even as Ms. Queen has invited State Farm to proffer some kind of objective basis for

  connecting Ms. Queen to its medical billing claims against the Flatbush Defendants, State Farm

  nevertheless insists on commanding her testimony and on commanding that she produce a

  substantial volume of documents, records and correspondence – based on what appears to be

  nothing more than speculation or suspicion.

         However suspicious Ms. Queen’s apparent transactions with one or more of the Flatbush

  Defendants may appear to State Farm, mere suspicion does not meet the standard for relevance

  under the applicable civil discovery rules. And because no modification of language can cure

  this defect, its two subpoenas served on Ms. Queen on May 7, 2019 must be quashed.




                                                 -8-
Case 1:19-cv-21931-KMW Document 1 Entered on FLSD Docket 05/13/2019 Page 9 of 9



         WHEREFORE, Petitioner Vasila Queen respectfully requests that this Court GRANT

  this motion and enter an appropriate order quashing the subpoenas Respondent State Farm

  served on Ms. Queen on May 7, 2019.

                                             Respectfully submitted,

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                                             By:        /s/ Roger Cabrera
                                                     ROGER CABRERA, ESQ.
                                                     Florida Bar No. 0148740




                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on this 13th day of May 2019, a true and correct copy of the
  foregoing was uploaded via the CM / ECF case filing system and separately delivered via email
  on Patrick C. Harrigan, Esq. (patrick.harrigan@kattenlaw.com), counsel for Respondent.

                                               /s/ Roger Cabrera
                                             ROGER CABRERA, ESQ.




                                               -9-
